                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 1:20-cr-78
  v.                                             )
                                                 )        Judge Travis R. McDonough
  JAMES CHRISTOPHER JENKINS                      )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER


          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not-guilty plea as to Count One of the

 one-count Indictment; (2) accept Defendant’s guilty plea as to Count One; (3) adjudicate the

 Defendant guilty of Count One; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) Defendant will remain on bond under appropriate conditions of release

 pending sentencing in this matter (Doc. 25). Neither party filed a timely objection to the report

 and recommendation. After reviewing the record, the Court agrees with Magistrate Judge Lee’s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge’s report and recommendation (Doc. 25) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

       1. Defendant’s motion to withdraw his not-guilty plea as to Count One of the Indictment is

          GRANTED;

       2. Defendant’s plea of guilty to Count One is ACCEPTED;

       3. Defendant is hereby ADJUDGED guilty of Count One;

       4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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    5. Defendant SHALL REMAIN on bond under appropriate conditions of release pending

       sentencing in this matter which is scheduled to take place on March 11, 2022 at 9:00

       a.m. [EASTERN] before the undersigned.

    SO ORDERED.


                                           /s/Travis R. McDonough
                                           TRAVIS R. MCDONOUGH
                                           UNITED STATES DISTRICT JUDGE




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